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    lr tjt l autjtO R ixz tt afD db;
                               DONALD J.TRUW ,

                                                                                   Plaintiy
                                         V.



                          U N ITED STATES O F AM ERICA,


                                                                               Defotdants.

                            PEN DIN G CW IL A CTION


     IG JK.PATEL'S M OTION FOR INTERVENTION AND M EM OIIAN DUM IN
           SUPPO RT O F GRAN TIN G TH E M OTIO N FO R IN TERV EN TIO N



                                                          T.E.,T.E.RajK.Patel(prose)
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                                                                            317-450-6651




 August25,2022                                          FILED BY     % <-%& D C .  .




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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 2 of 25



                IN THEUNITED STATjSDISTRICT COURT FOR THE
                                SOUTHERN DJSTRIW OFFLOIUDA
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   DoxAt,
        o J..
            rltuw ,
                                                     PlaiLtt No.9:22-c.-81294-AMc
           V.
                                                                      Dated:A ugust25,2022
   UN ITED STATES OF AM ERICA,
                                                            :         JURY TW AL DEM ANDED
                                                  Defendant
                                                            !


                                              TA BLE O F CO N TEN TS

  IG JK.PATEL'S M OTION FOR INTERW NTION AND M EM ORANDUM IN
  SUPPO RT O F GR AN TIN G TH E M OTIO N FO R IN TERV EN TIO N ..............................1
  RAJK.PATEL'S M OTION FOR INTERW NTION AND M EM OM NDUM IN
  SUPPO RT O F GIG N TIN G TH E M OTIO N FO R IN TERV EN TIO N ..............................1
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     R M K.PA TEL'S M OTIO N FO R IN TERV EU IO N A N D M EM O R AN DU M IN
          SUPPO RT O F GRAN TIN G TH E M OTIO N FO R IN TERV EN TIO N

         1,T.E.,T.E RajK.Patel(pro se),themovant,respecfhllly movethisUnited States
  Distrid Courtforthe Southem DistrictofFlorida to allow intervendon,eitherm y right

  orperm issively.LocalRule7.19Fed.R.Civ.P.24(a)-(b)(1)(B);and 42U.S.C.% 1981(a),
  1982,& 2000bb-1(a)-(c). The presentdviladion contairksa law suitagninqtihe United
  Statesto determinew hetherexecudvePrivilegew asviolated by aform erPresidentofthe
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  United States,the Plaindff,Donald J.Ttump. Iam interested in becom ing Presidentof
                                        1
  the United States and have a property rightorinterestofholding a pdvilege,protected
  by the United States Corusdtudon and ActsofCongress,along with allthehonors and
  rightswhich come with the ''holdlingq'/theoffice ofthePresidency and itsthenceforth
                                        I

  omnipresent, pow erful titles/styles/precedent of '
                                                    l'he H onorable (The Excellent),
  induding afterleaving office. U.S.const.art.lV,j 2;z.
                                                      lz U.S.C.j5 1981(a)& 1982;
  FederalistNos.78 & 80;and M adison,M onday,June 18,in Com mitteeofthewhole,on
  theproposidonsofM r.Patterson& * .Randolph,TheRecordsoff7V FederalConventionof
  1787,vol.1,pp.285-291,N ew H aven:Yale Univ.Press,1911,Edited by M ax Farrand,
  https:/poll.liber/o nd.org/dtle/farrr d-l e-records-of-le-federal-convention-of-l787-
  vol-1#lf0544-01 head 163;M adison,M onday,Jtme25,inConvendon,TheRecordsofthe
  Fcffem/Convenûonof1787,vol.1,pp.398-405,New Haven:YaleUniv.Press,1911.Edited
  by M ax Farrand, https:/kon.liber/ slnd.org/d:e/farrand-l e-recol'ds-of-l e-federi-
  convention-of-1787-vol-1#V05G -01 head 210,
                                            .Yates,M onday,Jtme 25,in ConvenEon,
  I'
  'heRecordsoff/zcFederalConventionof1787,vol.1,pp.410-416,New Haven:YaleUniv.
  Press, 1911, Edited by M ax Farrand, https://oll.libertyfundaorg/dtle/farrand-l e-
  records-of-i e-federz-convention-of-l787-vol-l#lfoso -ol head 211)     and     M ason,

  M ondayJtme4,in Committeeofthewhole,TheRecordsoftheFdflcrc!Conventionof1787,
  vol. 1, pp. 285-291, N ew H aven: Yale Univ. Press, 1911, Edited by M ax Farrand,
  ht-tps:/pon.libertyfund.org/dde/farrr d-l e-records-of-the-fedet-al-convention-of-l787-
  vo1-1#lf0544-01 head 080.
        One.lf the m atter is dedded against the Pm sident of United States,I have a
  statutory protected rightthatwillbeviolated,and eveniflam appointed by theElectoral
  College President, the holding and corksequendal precedendal value of this Court's

  disposidon ''ofthe acion may asapradicalmatter(wi11)impairorimpede Emylability

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      toproted (mylinterest,llnlessexisungT adequaielyrepresentthatinterest.Fed.R.civ.
                                             1
  P.24(a)(2).                                2
                                             I
  '
                                             i
            Two.In addidon,Ihave a ''daim or defense thatshares w ith the m ain adion a
                                             r
      com m on quesdon of1aw orfad''aboutexecutive Privilege,as intended by the Fram ers

      ofthe Uxuted states consdtcm on. U.s.const.art.lv,9 2 & art.vt j 1 referring to
      Gdevance20,Ded.ofIndep.(1776).
            Three.N ext,tbis Courtm ust allow intervendon because the FederalReligious

      Freedom Restoradon Ad,42U.S.C.jj2000bb etseq.,givesm ean ''tm condidonalright''
      to intervene and msset'ta daim ordefense ofthe interestofholding thePresidencp wltich

      isareligiousright,asitasapolidcalrighttoo.Fed.R.Civ.P.24(a)(1). Burwellv.Hobby
      Lobby Stores, Inc., 573 U.S. 682, 736-7 (2014) (Kennedy, J., concurring) (''In our
      consdiudonaltractidon,freedom m eansthatallpersonshavethe rightto believe orstrive
      to believe in a divine creator and a tlivine law . Forthose w ho choose tltis course,free
      exerdse is essendalin preserving their ow n dignity and in striving fora self-definidon

      shapedbytheirrelisousprecepts.Freeexerdseintltissellseimplicatesmoreth= just
      freedom ofbelief.SeeCan* ellv.Connecticut,310U .S.296,303 (1940).ltm eans,too,the
      l'ightto express those beliefs and to establish one's religious (or nonreligious)self-
      definldon in thepolidcal,dvic,and economiclifeofourlargercomm llnity.v).
            Four.N ext, tltis Court m ay allow intervendon because the Federal Religious

      Freedom Restoration Ad,42U .S.C.jj2000bb etseq.,givesm e a ''condidonalright'to
      intervene w hen m y free exerdse ofreligion isexpected to be substantially burden. Fed.

      R.G v.P.24(b)(1)(A).Buw ell,573U.S.at736-7.
            Therefore,lm ove thattltis courtallow intervendon.LocalRule 7.1.
                         W ELL-PLEAD ED CO M PLAW T STA N D ARD S



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        ''(A) pro se (interveniion),howèver inartfully pleaded, must be held to less
                                       !
  stringentstandards th> folm alpleadings drafled by law yersx''Erict on v.Pardus,551

  U.S.89,94 (2007).
                                STATEMEN: oyFAc'
                                               rs
    1. 1,RajK.Patel,thePlaindff(prose),am adtizen ofIndianapolis,Indiana.
           A.OnSeptember2,1992,Iw asbom ln New Jersey.
           B. From 2009-2010, I w as the Student Body President of ihe Brow rksburg

              Commllnity School Corporadon (''B.C.S.C.'') (corporate sovereign 2009-
              present)in Brownsburg,Indiana.
           C. From 2010-2010,1 attended Em ory U xtiversity in A tlanta,Georgia, and 1

              graduated w1f.
                           14 a Bachelor of Arts in PolidcalSdence and cum laude in
              Religion.1received an all-A average.
           D .From 2013-2014,Iw as the Student Governm entA ssodation Presidentof

              Em ory University, Inc. (corporate sovereign zolypresent) in Atlanta,
              Georgia.
           E. From 2015-2017,Iw asenrolled attheU niversity ofN otreDam eLaw School

              asajurisdodorcandidate.Ivoltmtary separadon ofleaveingood standing
              in N ovem ber2017. Seealso Com pl.,Patelv.United States,N o.1:21-cv-2004-

              LAS (Fed.Cl.202-).M ostPresidentsoftheUnited States,and theFram ers
              of the U nited States, have been law yers, read in the law , as currently
              prepared by 1aw schools. I have com pleted the m inim llm 1aw school

              graduadon credithoursasrequired by theAm erican BarAssodadon (e.g.
              68 credit hours), but not the University of Notre Dnm e's insiittldonal
              requirem ent of 90 credit hours, w 1t14 22 rem aining credit hours not
              com pleted yet.

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            F lhavebeen tm derthecorust
                                      I
                                        antlaw lessuseofa stressw eapon,w hich causes

               stressandphysicalandm éntalincapadtadonsand adversides.SeealsoPatel
               ?J.UnitedStates,No.1;21-cvQ004-LAS(Fed.C1.202-),Dkt.10,ay'dinpart&
               r>'ffin part,No.22-1131(Fed.Cir.2022),ECF44,pending ccrf.,No.22-5280
               (U.S.202-).
            G.ln addition to m y styles/itles,through m y heritage,by m y blood/legal-
               parents,Iam Top 1% ofAm edcans,interm sofincomeand cash-on-hand.
   H. Donald J.Trum p,thePlaindff,isaRepublican,and them ain acdon statesthathe
         isthelikely 2024 Republican N adonalCom m ittee'snom inee.D kt.1 at5.
   lH. Iam a Dem ocrat.

         Iw asthe co-Founderand Vice ChairofthelndianaI-tigh SchoolD em ocrats.

   V. l-Iinduism,anO1dReligionfrom lndia,W hatriyareligion.Cf.Dkt.1at19.
   W . Despitethedifferencesofpolidcalpardes,my relison requiresmetohonorand
         respectthe H ead ofState,and a fellow -Kshatriya - a fellow statesperson in the
         I-lindu ecdesiasdcalinterpretadon ofthehappenlngstm derthe Consdtution.
  W 1. Follow ing the norm s and varna ofthis sodalgroup and caste w ins the favor of
         Vishnu,God.
  VIH, Possibly United Statesshow ing diskustin future colored presidency orpresidents

         whomightnothavewhite-skixwcolorin them .42U .S.C.jj1981-2.
   IX. Ihis com ple tfollow s.
                                      A R G U M EN T

         ''Intervendon m ay be dm ely fied even if it occurs after a case has conduded.''

   Comm 'r,Ala.Dl 'fofCorr.v.AdvanceLocalM edia,LLC,918F.3d1161,1171(111 Cir.2019)
   (internaldtadorksom itted).
   Fed.R.Civ.P.24(a)-Intervention ofRight

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        ''Attheheal.toftltiscaseisRule;j
                                       24(a)(2),wltich governsintervendon asofdght.
  Asrelevanthere,Rule 24(a)(2)provides thata courtmustpermitanyone to intervene
  who,(1)Ioln Hmely m odon,(2)claimsan interestreladng to theproperty ortrarksadion
  thatisthe subjectofthe action,and isso situated thatdisposing ofthe acdon may asa
  practicalmatterimpairorimpede themovant'sability to proted itsinterest,(3)unless
  exisdngpartiesadequatelyrepresentthatinterest.''Bergerv.N.CarolinaSf.Conferenceof
  theNAACP,No.21-248 *27 (U.S.Jun.23,2022)(internalquotadonsremoved).
        An Ad ofCongressisnotrequired to discharge dudesofthe Privilegesand/or
  Tmm llnitiesClauses.In reNeagle,135U.S.1,2& 98-99(1890).
     1. Movant-ltajK.Patel'smotion is''timely''filed.
        '
        l'he m ain com plaint w as iniiiated less th> a w eek ago, on August 22, 2022.
  Comm 'r,918 F.3d at1171. Therefore,tltism odon forintervention is ''dm ely''underthe

  Fed.R.Civ.P.24(a)& 24(b)(1).Berger,No.21-248*27(U.S.2022).
     2. M ovant-Raj K.Patelhas property interest of the Corksdtutional dout of the
        Pdvilegesofform erPresidehts ofthe U nited States,and m ovant-Ral'K .Patelhas
        a polidcaland/orreligiousinterestin and from the transadionsofthe on-going
        lidgation.
        The dedsion on them ain com plaintw illdefine and create an untenableprecedent
  aboutPresidentialrecords and the use ofvested shared pow ersbetw een the incum bent

  PresidentandformerPresidents,wlticheffectsmovant-RajK.Patel'sreligiousinierestin
  suppoO ng a form er and currentH ead ofState,the President,and I-tisExcellency'sow n

  interestin atlaining and self-definingthePresidency.44U.S.C.552203 & 2204(b)-(f);42
  U.S.C.jj 2000bb etseq.;and Burwell,573 U.S.at736-7. Currently,the PresidentTrum p
  seeksa spedalm asterin accessing D efendant's records,butHis Excellency Patelhasan

  interestin m aking sure the record access accords with OriginalIntent (as am ended).
  Further,itis im portantthatinform adon-sharing and -restridiorts are not fettered w ith


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                                    l
  agaizkstanincumbentandformerPresi/ent,asmovant'spolidcalpartp likePresideni's
                                        i
  Trllm p polidcalpartp have determ inat1
                                        ely relied on the United States letdng the pa/y

  and its party's presidendal nom inee, victorp and successors can m ake fair use of
                                        :

  Presidendalrecords. U.S.cortst.art.W ,j 1 referring to Paris Peace Treaty - Cong.
  Prodam adon ofJan.14,1784. M ason,M onday June4,in Comm itleeofthewhole,The
  RecordsoftheFederalConventionof1787,vol.1,pp.285-291,New Haven:YaleUniversity
  Press,1911,Edited by M ax Farrand.

        Therefore,movani-lkajK.Paielhasan intervendonby right.
     3. Existingpartp Donald 1.Trllmp (R),donotadequately representm ovant-RajK.
        Patel's (D) interests, as they have different succession interests or are from
        opposing polidcalpaG es.
        W hileexisdngpardesarenotpolidcalrivalsorarenotexpeded tobecom epolidcal

  dvalin2024,espedallyasmovant-RajK.Patelisnot35yearsofage,themovantandihe
  exisdng paG es are of different religious tradidons: President Trum p has openly
  idendfied as Chrisdan and has descendentfrom Christimw ashasPresidentBiden,w ho
  is Catholic, and m ovant-M r.Patelis H indu and a descendeni of l'lindus. Therefore,
  exisdng patliescannotadequately representthe m ovant-M r.Patel'sH indu ecdesiasdcal
  interpretation ofourhappenings.

        In addidon, the exisdng paO es are ideoloscally different w1t14 different
  cortsideradonsandfocuses,regardlessofpartyaffiliauon,andconsdtudonalism.Butcf.
  Patel v. United States, No.22-5280 (U.S.202.3. Therefore, existing patlies caxmot
  adequately represent m ovant-W .Patel's interest w ith ihe incum bent President and
  form erPresident.
        N ext, the D efendant-united States of A m erica in interested the preserving the

  institution ofthePresidencyjustasmuch asPlaintiff-presidentTrump and movant-Mr.
  Patel,butDefendantis represented by the United StatesDepar% entofJusdce wltich

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  anqwersnotonlytothecurrentPresideztbutalsotoCongressandnotthepoliticalpardes
                                        I
  orthe generalpublic orvohng popul/ldon and the United States Constitudon,unlike
  Plaindff-presidentTrdlmp andmovant-vr.Paiel.Dkt.1at3.Butcf.Id.at12.Therefore,
  exisdng pardes cannotadequately representm ovant-o .Patel'sinterestsin the case-at-

  hand.
        Lastly,the appoin% entofspedalm aster willnotstlffidently representm ovant-
  M r.Patel's interestin the precedentialeffectofthe venerable lineage ofthe m ain adion.
  Asitcurrently stands,the spedalm aterw illonly addressthePresidentialRecordsActas
  applied to President Trttm p and his records. D kt.1 at 14 & 15. M ovant-M r.Patel's
  com m on quesdon of1aw isem bedded and necessary to answ erforthe m ain action to be
  rtlled in favorofPresidentTrum p.But,tm like m ovant-W .Patel,currentpardesasstlm e
  com plete consdtudonality of the PresidendalRecords A d,and,thus,exisdng paxlies
  cannot adequately representm ovant-O .Patel's interests in tltis tranqacdon. M ason,

  M ondayJtme4,in Committeeofthewhole,TheRecordsoftheFeffcrf?/Conventionof1787,
  vol.1,pp.285-291,N ew H aven:YaleU niv.Press,1911,Edited by M ax Farrand.
        Foreach ofthese reasolw m ovant-M r.Patelhasan intervendon by right.
  Fed.R.Civ.P.24(b)- Perm issive Intervention
          'Tederal Rule of Civil Procedure 24(b) governs permissive intervent'on.
  Permissiveintervention...isappropriatewhereapartfsdaim ordefenseand themain
  acdon have a quesdon oflaw or fad in com m on and the intervention w illnotunduly

  prejudice ordelay the adjudicadon oftherightsoftheoriginalpardes.M f.Hawley Ins.
  Co.v.Sandy Lakes Propsv Inc.,425 F.3d 1308,1312 (111 Cir.2005)(alteradon added;
  quotadon marksand dtadon omitted).A distrid courthasbroad discretion to allow or
  disallow permissive intervention even ifboth ofthose requirementsare metl.)Chilesv.
  Thornburgh,865 F.2d 1197,1213 (111 Cir.1989)(alteradon added;dtadon omitted);see

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   gls0Tursom .
              f?.UnitedSflfcs,N o.20-G -20811,2021W L 3493207*3 (S.D .Fla.Aug.9,2021)
            -                            l
   (notingthatadistrictcourtcan conside!
                                       rnlmostanyfactorrauonallyrelevantbutenjoys
                                         1

   very broad discretion in granting ordçinying them otion). ln exerdsing thatdiscredon,
   thedistrid courtmustconsiderwhethértheintervenhon willunduly delay orprejudice
   the adjudicadon of the oxiginalpaG es' rights.Fed.R.Civ.P.24(b)(3).Any doubt
   concerrting the propriety of atlow ing intervendon should be resolved ln favor of the
   proposed intervenorsbecauseitallow sthecourtto resolve a11disputesin asingleacdon.''

   Hd.Sav.& Loan Ins.& rp.v.FallsChaseSpecialTflxfag Dist.,983F.2d 211,216 (111 Cir.
   1993)(dtadon om itted).M 'izingTech.Servs.v.Bcrks/zircHathaway spccifl/f.
                                                                           yIns.Co.,22-G -
   20596*3(S.D.Fla.Apr.14,2022)(internaldtationsom itted).
      1. M ovant-RajK.Patel'smotionis''timely''filed.
         R'
          he m ain com plaint w as inidated less than a w eek ago, on Augusi 22, 2022.
   Com m 'r,918 F.3d at1171. Therefore,tltism odon forintervention is ''dm ely''underthe

   Fed.R.Civ.P.24(a)& 24(b)(1).
      2. M ovant-RajK.Patel's''claim ordefenseand...D onald 1.Trump/sl...main adion
         have a quesdon oflaw orfad in com m on''asto thelegality ofa form erPresident
         ofthe United States keeping Presidendalrecordsunderthe PresidentialRecords
         A ctand the consitutionatity ofthe PresidendalRecordsA ct.
         PresidentTrum p's m ain action and the m ovant-o .Patel's intervendon have a
   com m on quesdon oflaw aboutthe corusdtutionality ofthePresidendalRecordsA d and
   its applicability. M r.Patelraises ltisow n corksdtudonallaw argum entsw ltich w illhelp

   this Cou/ adjudge the proposalsmade by PresidentTrllmp. PresidentTrump raises
   otherim portantconsdtudonalquesdons ofFifth Am endm entD ue Process-Fairness and
   Fourth Am endm ent-u nlawfulSearch and Seizures.D kt.1 at10,12-4,& 18.Pardcularly,
   m ovant-M r. Patel to address the Privileges and Im m tm ides Clause as applied to
   PresidentTrum p and otherpossible form er Presiden/ oftlte U nited States. U .S.const.


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                                     iXIV,j 1,d.2. Further,Am endm entIand the
   art.1V,j 2. SeealsoU.S.const.amend.
   FederalRFRA 1aw allow s for m ovant-i
                                       M r. Patelto assertthis com m on daim and/or

   deferse in thisintervendon and to the m ain acdon because itim pactsltis self-definition
   ashe triesto win the favorofGod while and afterholding thePresidency.42U.S.C.jj
   1981-2;2000bb etseq.;and U.S.const.am end.1. U.S.const.art.W ,j 1referring to Pads
   PeaceTreaty- Cong.Prodam adon ofJan.14,1784.
         Therefore,m ovant-M r.Patelaslqsthe coud to allow perm issiveintetvention.In re

   Neagle,135U.S.1,2 & 98-99(1890).
      3. GranEng the intervendon willnot tmdttly prejudice the odginal pardes,as
         movant-RajK.Patel'sisanecessaryquesdonthattheCourtmustanqwerinorder
         to proceed to the enforcem entorderunderthe PresidendalRecords Ad and w as
         tim ely filed.

         Prejudiceto thepardeswillnottmduly prejudicethe originalpartiesbecausethe
   m odon is dm ely filed and m ovant-M r.Patelhas not introduced new or unexpected
   quesdorks of1aw orfad;in fad,m ovant-M r.Patelonly seeksto elaborate on a com m on

   quesdon oflaw em bedded in the m ain adion and originalpreceding. Fed.R.Civ.P.

   24(b). Therefore,the existing pardes,President Trum p versus the United States of
   Americw w111notbetmduly prejudiced.
                                          CLAIM S

         A 1lparagraphsfrom above are incorporated into this sedion.Al1ofthe follow ing
   daim sm ay be read together,in groups,orindividually and each perm utation.
   CLAIM 1. The application ofPresidentialRecords Ad is beyond Congress'vested

   POW G S.
              A.U .S.const.art.1,j 1.See also U.S.const.axt.W ,j 1 referring to M ason,
                M onday Jtme 4,in Committee ofthe whole,TheRecords of the Federal



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              Conventionof1787,vol.1,;pp.285-291,New Haven:YaleUniversity Press,
               1911,Edited by M axFarrand.

                                       .U.
           B. Harlow v.Fitzgerald, 457 ' S.800,811 n.17 (1982)('Yuits agairstother
              offidals - induding Presidendal aides - generally do not invoke
               separation-of-pow ersconsideradons to the snm e extentasstlits againstthe

              Presidenthimself.'').
            C.Printz v.United States,521 U .S.898,920-21 (1997)& Id.at918 quodng
               PrincèalityofM onacov.M ississippi,292U.S.313,322(19M )(constituEonal
               exem ptionsforlocaloffidals).
            D.In reGTE serpk:Corp.,762F.2d at1026-27. Federalist80.In reQuarles&
               Butler,158U .S.532,536-37 (1895)& United Statesp.Harris,106U .S.629,638
               & 643-44(1883).
            E. Cnty.ofSacramentov.Lewis,523U.S.833,847(1998)(notFairPlay ''when
               Corusdence-shockingbehavioris'so Mbrutal'and Noffensive'thatitEdoes)
               notcomportwith tradiuonalideasoffairplay and decency./''l.
            F. Rubinv.dnitedStates,525U.5.990,990-91(1998)(Breyer,J.,dissendng from
               denialofce/iorari)(''Thephysicalsecurity ofga14honorable)hasaspedal
               legal role to play in our consdt-udonal system r). Id.at 995 (but for
               privileges,there would be a lossoft'
                                                  rustin enforcem ent). U .S.cortst,art.
               1V,jj 1-2.Fed.R.Civ.P.9(d).
            G .'Ihe Privileges and Im m llnides Clause is why the Am edcan people have
               chosen to have a nadonalcortsdt-udonalgovernm ent;faithhllness to tltis
               Clause defines the N adonal Charader and ''the basis of the llnion.''
               FederalistN o.80.'
                                IhisClause,w ltich createsthe totem poleoflnierarchy of



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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 13 of 25
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                  m aster,honors, and excellent,is not am endable,per the Treaty of Paris

                  (1783),and adm inistersSbv
                                           $ ereignty oftheUztited StatesCorksdm tion.
                                           i

               H .''The Cidzerusofeach State shallbeendtled to allprivilegesand lm m unities

                  ofCidzers in theseveralStates.''U.S.corkst.art.IW j2,d.1.Corpeld,6F.
                  Cas.546,4 W aSH.C.C.371,No.3230 (C.C.E.D.Pa.1823)(W aslzington,J.).
                  TheConsut-udonalhierarchy reqttires''theexerdseofexecutivepowerjio
                  rem ainlaccountable to the people.''United Statesv.Arthrex,Inc,No.19-
                  1434atp.23,594U.S.            (2021)(Roberts,C.J.,majority).
               J. ''NoStateshallm akeorenforceany law which shallabddgetheprivileges
                  orimm unidesofdtizerksoftheUnited States.''U .S.const.am end.XIV,j1,
                  d.2.
               K. An Ad of Congress is not required to discharge dudes of the Privileges

                  and/orImmunities Clauses. In re Neagle, 135 U.S.1,2 & 98-99 (1890).
                  Federalist78.The FederalGovernm eni''com m andsobeclience''to itslaw s

                  through the Privileges and Im mllnides Clause tand to certain Privileges
                  and Im munidesthrough theFullFaith and CreditG ause).Loganv.United
                  States,144U.S.263,295(1892)& U.S.const.art.W ,jj1& 2,d.1& amend.
                  M V,51,d.2.
               L. Congress has bound each dlstrid judge to ''administer justice without
                  respect to persorus, and do equal right to the poor and to the rich,
                  and...faithfully and im partially discharge and perform all the duties

                  incum bentupon...leach Honorableq...underthe Cortsdtudon and lawsof
                  theUnited States.'' 28U .S.C.j453.
               M .'I'
                    he FederalGovernm ent''com m ands obedience''to its law s through the

                  Privilegesand lmm unitiesClause(and toce/ainPrivilegesand Im muzzities

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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 14 of 25


                                       1
               through theFullFaith andlCreditClause).Logan v.United States,144U.S.
                                       l
               263,295(1892)& U.S.covt.art.W,#j1& 2,d.1& amend.XIV,j1,d.2.
                                       1
            N.W hen enfordng thePHGI
                                   'egesand Immunities,theUnited Statesfederal
                                       i
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               governm enthassuprem aq inprotectingeach ddzen and need notinvolve
               State execudvesorothergovernments. In reQuarles & Butler,158 U.S.ai
               536-37& United Statesv.Harris,106U.S.62% 638 & 643-44(1883).
            0 .The Privieges and lm m llnities Clause dudes on the FederalGovernm eni

               arefotmdadonaland fundamental.SeealsoU.S.const.art.W ,j 1referring
               totheDed.ofIndep.(1776)& '
                                        I'
                                         heTreaty ofParis(1783).
                   i. The President of ihe U nited States has the ftm dam ental,
                      foundational, and oath-bound duty to enforce the United States

                      Cortsdt-udon.3U.S.C.5j301-03 & U.S.corkst.art.H,j 1,ds.1& 8.
                  ii. Like in the coniem porarp w hen an H eriorofficerisnotestablished
                      by Congress, the President of the U nited States is diredly
                      resporksible to oversee the enforcem ent of the Privileges and
                      Im m tm itiesClause.Arthrex,N o.19-1434 atp.23.

                  iii. Overall, currentlp T.H.
                                             , T.H. (T.E.), T.H. (T.E.) Joe Biden, the
                      Presidentof the U nited States,is the officerin charge of enfordng

                      thePdvilegesand Im munidesClause.See3U.S.C.j303.
   CLA IM 2. The application of lhe Presidential Records A ct is in violation of the
   Privileges and Im m unitiesClause and substantive D ue Process.
            A .EqualProtecdon C1.in theD ueProcessCl.and substandveD ueProcess.See

               United Statesv.W indsor,570 U.S.744,770,774,793,& 807 (2013)quodng
               Bollingv.Sham e,347U.S.497 (1954).
            B. SeeClaim 1.

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   CLA IM 3. A form er President of the United States can law fully retain copies of
                                        1

   Presidentialrecords,from eitherhis/het/theirown administration orfrom another
   President's adm ie strations, under ihe vested Pow ers of the President and the
   Privileges and Im m unities Clauseofthe United Slates Constitution.
            A .The PresidentialRecordsA ctm akesinform ation sharing w 1:14the Congress
               and the public a shared resporksibility of the innlm bent President and
               form erPresiden/ .
            B. A s originally intended by the Fram ers,there w ere no term lim its on the
               ntlm berterm sanatural-bornAm erican can serve asPresidentoftheU nited
               States.A s am ended by the U nited States, it seem s that a person can be
               Presidentfora m axim llm of10 years.
                      'l'
                        he Lockean D ocum ent,consistentw1t.
                                                           11the Pow ersvested through
                      the Treaty of Paris (1983), made sure that previous Presidents
                      rem ained a pal't of the irksdtudon by allow ing dtles and other
                      pensions.
                      The Fram ers,in addidon to m aintain the GeneralW elfare,form ed
                      the Conslitudon as contem porary plutocrats and to prevent
                      unethicalcom m erdalconductam ongstfactions,divided into states.
                  1 . The Fram ers loathed polidcalparties as a w ay they challenged the
                      State'sroleofm aintain thePeace.H ow ever,from the very beginning
                      of our current w ritten Consdtudonal experience, political parties
                      havebeen inseparable and essendalto statecaft.
                      'Ihe only link betw een the United States and the polidcal pardes
                      wltich preventa politicalparty from becom ing thehegem on are the
                      currentand form erPresidentsofthe United States.

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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 16 of 25



               N loV ng a fornler President
                                       l access to records preserves and creates the
                                         1
               checksand balanceswhicl
                                     h arehlndamentaltoourRepublic.
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                                    !
                     WhiletheincllmbrntPresident,here, PresidentBiden,can trigger
                     board nadonal security Pow ers to determ ine who has w hat
                     iftform adon, induding am ongst form er Presidents, w ithout such
                     concem s,there is not Consdtudonal permlssive pow er to lim it a
                     form erPresidentfrom retaining copiesofPresidentrecords,aslong

                     asthey are securely kept. U .S.corkst.art.W ,j 1 referdng to the
                     Treaty ofParis(1783).
                  ii. '
                      Ihe Fram ers deem ed the Textto be evolutionary for atleastthree

                     reasons(1)itcan be amended,(2)itwasapolemiccalling on states
                     to approveand ratify and change the state ofslavery w 1t14whatw ill

                     betheForce ofthenewly-form ed Union,and (3)itisintended tobe
                     passed dow n to the generadorksofthe U nion'sdvilizadon,asstated
                     in the Pream ble ofthe United StatesCortsdtttdon.
                 iii. W bile there w as neithera king nornoble house,the Fram ers,w ho
                     w ereyotm g atthestartofere ofthecallforIndependence,espedally
                     M aclison and Yates, intended that the Presidency w ould evolve
                     because form er Presidents w ill raise their own kids to be better
                     leadersthm4they w ere.M adison,M adison,and Yates.
            D. PresidentTrum p has not converted oraided in the conversion ofU nited
               States docllm ents ofPresidendaldocllm ents.

            E. Form erPresidentsneed to be able to accessrecordsquickly and effidently
               and their copies in order to preserve their consideradons and executive
               agreem ents. Dkt.1 ai5.

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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 17 of 25
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            F. The cttrrentad ion isinconsistentw 1t.
                                                    14ihe Fram ers'elidstand aristocratic
                                        E
               mindsetaccordedfrom tieConsdtutionalConvendon,
                                        1

            G.The currenthappenings tn the main acdon require to m e intervene and
               exerdse m y politicalrightsto protecttheinstitution ofthePresidencp and
               so I am able to exerdse the force ofthe Presidency in further the United
               StatesCorksdtution,oursodalcom pact,asm y religion requiresm e.
   CLAIM 4. Appointm ent of Special M aster M II not be sufficient to address the
   claim sand interests which are apartofthis inteN ention.

            A .The spedalm asterw illaccessthe disdosuresofadclidonaldocum entsand
               affidavits.

            B. The spedalm asterw illnotaddressthe consdtcm onality ofthe happenings
               of the case and ihe siatute, the Presidertdal Records Act, wltich vests

               subject-matterjurisdiction and its corkstit-udonalitp wltich challenges the
               Pdvileges and Im m llnides Clause ofthe U nited States Consdtution.U .S.

               corkst.art.W ,j2.
   CLM M 5. It is unclear w ho can enforce the Presidential Records A ct and its
   com m on law vestiges againsttheform erPresidents.

               Can T.H .T.H .(T.E.)T.H .(T.E.)Biden enforcetheapplied 1aw toT.H.(T.E.)
               Trunap?

            B. Can T.H .T.H .(T.E.)T.H .(T.E.)Biden enforceiheapplied law to T.H .T.H .
               T.H.T.H .(T.E.)Obam a?
            C. Can T.H.T.H .(T.E.)T.H .(T.E.)Biden enforcetheapplied law to T.E.T.H .
               T.H.(T.E.)Regan ifM r.Regan was sdllalive?T.E.com esfrom the Hm e
               when Regan w asStudentGovernm entPresident.T.E.T.H .T.H .T.H .(T.E.)



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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 18 of 25



                 T.H.(T.E.)Nixon? T.E.:com es from the dm e when Nixon was Student
                 Governm entPresident.

            D.CM T.H.(T.E.)Trump enf
                                   'orcetheapplied 1aw toT.H.T.H.(T.E.)T.H.(T.E.)
                 Biden?

            E. W hen doestheU nited States Constitnm on allow foritsauthoritadveveilto
                 be pierced and allow the Com m ander-in-chiefto assertfiatto arrestm ore
                 authoritadvely powerfulform erPresident?
   CLAIM 6. r
            l'
             he Religious Freedom Restoration Act has been violated because the
   m ain action burdensm y ability ofself-definition asPresidentofthe United Statesand

   afterwards.
            A. H ndtlism requires m e to be the best eleded offidal as possible and to
                 support the Privileges and lm m unides Clause of the U nited States of

                 Conslitudon.U.S.const.art.VI,j2.
            B. H nduism reqtlires m e to support both President Biden and President
                 Trttm p as our H ead ofState,butthe law is the King,here,in the U nited
                 States.

            C. A violation oftheKing,the Law,w ould hinderm y ability to Presidentand
                 form erPresidentofthe United States.Forinstance,a change in the status
                 quo of how Pxesident Trum p allow ed for records to be kept risks
                 welcom ing radsm into how incum bent Presidents m ight treat form er
                 Presidents or the radst effecta precedentialholding can inspire in other

                 governm entsand politiesand thebusinessw orld.42U.S.C.jj1981-2.
            D .Thus,Im ustasserttlaisdaim ,and find thatPresidentTrum p's acdons are
                 protected by the United States Consdtution's Privileges and lm m unities
                 Clauseand/orsubstantiveDueProcess.

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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 19 of 25
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                              DEM AN D FOR RELIEF
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   W I-IEREFORR TheExcellent,TheExcetlentRajK.Patel,with theinterestf'urtherdecency
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         w itltin ourN adon and upholding
                                        'ottrCozksdtution,askstltisunited StatesD istdd
         Court for the Southern D istrid of Florida to grant either a11 or som e of the

         following relief:
         Allow intervendon.

      2. Reliefdescdbed in the daim ssedion above.
      3. Find tm consdtuiionality ofthePresidendalRecordsAct.
      4. Otherrem ediesw ltich the courtm ightdeem fit.


                             Respectfully subm itted,



                             /s/RajK.Patel
                             T.E.,T.E.RajK.Patel(prosej
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                             Indianapolis,IN 46219
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                             317-450-6651(ce11)
                             rajpzolo@gmail.com
                             www.rajpatel.live
                             J.D.Candidate,NotreDam eL.Sch.2015-2017
                             President/studentBody President,StudentGov'tAss'n of
                                Em oryU.,Inc.2013-2014(corp.sovereign zol3-present)
                             StudentBody President,Brow nsburg Cm ty.Sch.
                                Corp./president,BrownsburgI-ligh Sch.Sm dentGov't
                                2009-2010(corp.sovereign 2009-present)
                             Rep.from the N otre Dam eL.Sch.StudentB.A ss'n to the
                                Ind.St.B.A ss'n 2017
                             D eputy RegionalDiredor,Yotm g Dem ocrats ofAm .-lqigh
                                Sch.Caucus2008-2009
                             Co-Founder& Vice Chair,Ind.l'ligh Sch.Dem ocrats2009-
                                2010
                             VicePresidentofFin.ttndep.l,Oxford C.Republicansof
                                Em ory U .,Inc.2011-2012



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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 20 of 25



                              CERTIFICATE O F IN TEREST
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         1,'1R4EEXCELLENL THEEXCELLENTRajK.Patel(pro se),mn appearing without
   counsel. Giving FullFaith to the U nited States Corustiiudon,Iuse the A uthodty ofm y
   om nipresentStylesand Office in theselproceedingsinto w ltic.h Iavailm yself.U .S.const.
   all.lV,j1& am end.XIV,& art.W ,j1referringtotheTreatyofParis(1783)& ParisPeace
   Treaty- Cong.Prodam adon ofJan.14,1784.
         Ihavecompleted five (5)outofthesix (6)semestersofmy jurisdr.candidacy at
   theU .ofN ot'
               re Dam eL.Sch.in South Bend,W .,w hereIw asenrolled from August2015
   to November2017,and Ihave com pleted sixtr eight(68)outofthe ninety (90)credit
   hoursforajurisdr.candidacy attheNotreDameL.Sch.
         Sudu I have com pleted the m inim um nllm ber of credithours required by the
   accredidngAm.B.Ass'n(''A.B.A.'')toallow a1aw schooltoaccreditmeajurisdr.degree.
         Amongstthegradesinmyjurisdr.academiccoursesIreceivedattheNotreDame
   L.Sch.,lreceived an A-/A in contractslaw,an A-/A in dvilprocedure,and aB/A in
   corustitudonallaw ,wlnile tm derW eapon S.ln the sllm m erof2016,1w orked assum m er
   assodate w1t14 the City ofA tlanta Law DeparM entin Atlanta,GA . In the sllm m er of
   2017,Iw orked as a sllm m erassodate atBarnes& 'Ihom burg LLP in Ittdianapolis,IN .

         And,Ihold a BachelorofA rtsin Poli.Sd.and cum laudein Religion from Em ory
   UvInc.ofAilanta,Georgia,and Iattended both Oxford Collegeand Em oty College,and
   graduated,in 2014,w1t14à3.718/4.0gradepointaveragew1t11no pass/failgrades.
          Em ory U .,Inc. is ranked as a top-20 or top-25 U.S.N ews Tier 1 best national
   universitp and the N otre D am e L.Sch.is ranked as a IZ5.N ews Top 25 best1aw school
   in the Urtited States.

         lw asStudentBody Presidentofthe Brow rtsburg Cm ty.Sch.Corp.from 2009-2010
   and StudentBody PresidentofEm ory U .,Inc.from 2013-2014.Iw asalsotheN otre Dam e
   L.Sch.StudentB.A ss'n Rep.to theInd.StateB.A ss'n from Septem ber2017 to Novem ber
   2017.Alljurisictionsare''local''and with an ''internadonal''consdtuency.
         Each fim e I w as elected Student Body President, 1 attained thenceforth
   omnipresentStyles(''THEEXCELLENI'''foreach eledion)witich areprotectedby both the
   Pdvileges& Im m unidesClauseand PrivilegesorIm m llniiiesClause oftheU nited States
   Corusdtudon.U .S.const.art.lV,j2,d.1& am end.M V,j1,d.2.SeegenerallyFederalist
   80 & Printzv.United States,521U.S.898,918 (1997)quoting Princkality ofM onacov.
   M fssissfppi,292 U.S.313,322(19M ).
         Ihave notreceived legaladvice orcounselfrom anyoneelse fortltiscase.



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                                      ! ng ProSeM odon fortnterveniion and M emo.
   In Supporton 08/25/2022tobelow individualsviae-m ail:
                                       i
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   JamesM .Trusty
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   Dated:A ugust25,2022


                            Respedfully subm itted,




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Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 22 of 25
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                    IN TH E UN ITED STATES D ISTRICT COU RT FO R TH E
                           SOUTHERN UISTRICT OF FLORIDA
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   DONALD J TRU M P,
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                                    Plaint# No.9:22-G -81294-AM C
           V.

   LJM 'I'ED STATES O F AM XRICA,


                                  Defendant

                                           O RD ER
        Ihism atter CO M ES N O W before the Courton M r.Patel'sM otion forIntervendon,
  and thefollow ing isO RD ERED :

     I JM r.Patel'sM otion forlntervention isGRANTED.
           ( 1TheIntervention isoneofrightlm derFed.R.Civ.P.24(a).
           ( 1'
              l'heIntervendon ispermissiveunderFed.R.Civ.P.24(b).
     ( )M r.Patel'sM otion forIntervention isDENIED.



  SO O RDERED this                  day of            ,2022




                                                         United StatesDistrictJudge




  D istribution to a11attom eysand proselitigantsofrecord.
Case 9:22-cv-81294-AMC Document 21 Entered on FLSD Docket 08/26/2022 Page 23 of 25

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                               CERTIFICATE OF SERV ICE
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      cerdfy thatIserved a copy ofthe for
                                        egoing Proposed Orderon 08/25/2022 to below
  individualsvia e-m ail:

  Jam esM .Trusty
  IFRAH ,PLLC
  1717 PennsylvaniaAvenue,N W ,Suite 650
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  410-385-2225
  Em ail:ecorcoran@silverm anthom pson.com




                                      Respectfully subm itted,



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                                      M arion Cotm ty
                                      317-450-6651(ce1l)
                                      rajpzolo@gmail.com
                                      ww w.rajpatel.live


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  .    (a) PI,AINTIFFS                                                                                      DEPENDANTS
                                DonaldJ.Trump                                                                                                  USA                                                               h

       (b) CountyofResidenceofFirstListedPlainte Palm Beach                                                 County ofResidenceofFH ListedDefendant
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